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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA

                                          )
WILLIAM JAMES GRIFFIN and                 )
ASHLEY LAWLEY, on behalf of               )
themselves and others similarly           )
situated,                                 ) CLASS ACTION COMPLAINT
                                          )
                     Plaintiff,           )
                                          )
       v.                                 ) Case No.
                                          )
BENEFYTT TECHNOLOGIES, INC.               )
(f/k/a HEALTH INSURANCE                   )
INNOVATIONS, INC.), and                   ) DEMAND FOR JURY TRIAL
HEALTH PLAN INTERMEDIARIES                )
HOLDINGS, INC.,                           )
                                          )
                     Defendants.          )
                                          )
                                          )


      1.       Defendants Benefytt Technologies, Inc. (formerly known as Health

Insurance Innovations, Inc.) and Health Plan Intermediaries Holdings, Inc.

(collectively “HII”) (collectively, “HII” or “Defendants”) have unscrupulously

targeted and exploited vulnerable consumers searching for comprehensive medical

insurance. While Defendants marketed their policies as comprehensive medical

insurance, the policies were instead limited benefit non-ACA compliant health plans

that were marketed along with largely bogus add-on products like discount cards,

association memberships and accidental health insurance to make them seem more



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comprehensive than they were in reality. The policies left patients with little or no

insurance for comprehensive care, excluding coverage for preexisting conditions and

prescription drugs and imposing very low dollar limits on other services.

      2.       As the FTC noted in its action against one of HII’s co-conspirators

Simple Health, “Deceived consumers are effectively left uninsured and subjected to

nearly unlimited financial exposure.” FTC v. Simple Health Plans, LLC,

Memorandum in Support of Plaintiff’s Motion for Ex Parte Temporary Restraining

Order at 1. From the beginning of the scheme, the actions of Defendants and their

co-conspirators were unconscionable and detrimental. Now, in the midst of a

pandemic, Plaintiffs and Class Members who thought they had purchased

comprehensive medical insurance, will not have plans that cover their treatment

should they become infected. Accordingly, the harm to Plaintiffs and Class Members

is potentially catastrophic and possibly even fatal.

      3.       Even prior to the current pandemic, the FTC had brought an action

against Simple Health calling the practices at issue here a “classic bait-and-switch

scheme.” FTC v. Simple Health Plans, LLC, Memorandum in Support of Plaintiff’s

Motion for Ex Parte Temporary Restraining Order at 2. In granting the FTC’s

motion for preliminary injunction on May 14, 2019, the Court concluded, “Though

consumers believed they were purchasing comprehensive health insurance coverage,

[Simple Health] sold them practically worthless limited indemnity or discount


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plans.” However, HII’s conspiracy and scheme includes third parties other than

Simple Health including Assurance IQ, Inc., (“Assurance”) and Nationwide Health

Advisors (“Nationwide”).

      4.       Plaintiffs, who are among the victims of Defendants’ uniform scheme,

bring this action pursuant to the Racketeer Influenced and Corrupt Organizations

Act (“RICO”), 18 U.S.C. §§ 1961, et seq., on behalf of themselves and a class of

similarly situated consumers seeking redress for the illegal acts of the Defendants

which have resulted in a loss of their property, and for declaratory and injunctive

relief to prevent further losses.

                          JURISDICTION AND VENUE
      5.       This Court has jurisdiction over the subject matter of this action

pursuant to 18 U.S.C. §§ 1961, 1962, 1964 and 28 U.S.C. §§ 1331 and 1367. The

Court has personal jurisdiction over the Defendants pursuant to 18 U.S.C. §§

1965(b) and (d) because the Defendants transact business in this District. This Court

also has personal jurisdiction under the conspiracy theory of jurisdiction under

Alabama law because Defendants participated in a conspiracy in which at least one

conspirator committed overt acts in Alabama in furtherance of the conspiracy, J&M

Assocs. v. Callahan, No. 07-0883-CG-C, 2011 U.S. Dist. LEXIS 131752, at *11

(S.D. Ala. Nov. 15, 2011), and under Alabama’s long-arm statute, Ala. R. Civ. P.

4.2(b), because Defendants’ advertisements, marketing, sales, issuance of policies



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and collection of payments in Alabama constitute minimum contacts with Alabama,

and the exercise of personal jurisdiction comports with the Due Process Clause of

the Fourteenth Amendment.

       6.       Venue is proper in this district pursuant to 18 U.S.C. § 1965(a) and 28

U.S.C. § 1391(b) because Defendants transact business in this District, and because

a significant part of the events, acts and omissions giving rise to this action occurred

in the District.

                                       PARTIES

Plaintiffs:

       7.       Plaintiff William James Griffin is an adult resident of Blount County,

Alabama. Mr. Griffin purchased an American Financial Security Life Insurance

Company limited benefits product which Defendants called their Health Choice +

Plan and memberships with the “National Congress of Employers,” the “Med-Sense

Guaranteed Association,” PEP (an “online health and wellness program”), ScripPal

(a pharmacy discount card), RxHelpline (purporting to be “a prescription savings

program”), and Teladoc. Defendants also included a “voluntary accident insurance”

policy from Federal Insurance Company. Plaintiff Griffin did not receive a

comprehensive medical plan as represented. Upon information and belief, Mr.

Griffin’s “benefits package” was marketed through Simple Health.




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      8.       Plaintiff Ashley Lawley is a resident of Jefferson County, Alabama.

Rather than a comprehensive medical plan, Defendants sold Ms. Lawley a limited

benefit short term health insurance product entitled Advant Health STM from

American Financial packaged together with other products and discount clubs,

including memberships with the “National Congress of Employers,” “The Alliance

for Consumers USA, Inc.,” the “Med-Sense Guaranteed Association,” PEP (an

“online health and wellness program”), ScripPal (a pharmacy discount card),

RxHelpline (purporting to be “a prescription savings program”), and Teladoc.

Defendants also sold her Group Critical Condition Insurance from Federal Insurance

Company. Upon information and belief, Ms. Lawley’s “benefits package” was

marketed through Simple Health.

Defendants:

      9.       Defendant Benefytt Technologies, Inc. (“BTI”), formerly known as

Health Insurance Innovations, Inc., is a Delaware corporation with its corporate

headquarters located in Tampa, Florida. Health Insurance Innovations, Inc.’s

common stock was traded under the ticker symbol “HIIQ.” HIIQ was a holding

company whose only material asset is ownership of a 100% economic interest in

Defendant Health Plan Intermediaries Holdings, Inc. (“HPIH”), in which HIIQ was

the sole member. In addition, HIIQ had 100% of the voting rights and control over

HPIH. Following regulatory attention and a subsequent stock price drop, on March


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6, HIIQ announced that it had been officially renamed Benefytt Technologies, Inc.

with the ticker symbol “BFYT.” Going forward, however, the re-named company

will continue to offer “health insurance and supplemental products” utilizing

“private e-commerce health insurance marketplaces, consumer engagement

platforms, agency technology systems, and insurance policy administration

platforms.” March 6, 2020 Press Release found at www.investor.benefytt.com.

      10.    Defendant Health Plan Intermediaries Holdings Inc. (“HPIH”) is a

Delaware limited liability company based in Tampa, Florida.

      11.    BTI and HPIH are jointly referred to herein as “HII.”

Co-Conspirators Not Named as Defendants:

      12.        Assurance IQ, Inc. (“Assurance”) is a Washington corporation with is

principal place of business in Bellevue, Washington. According to its website,

launched in 2016 in Bellevue, Washington, Assurance was founded to improve the

personal and financial health of every consumer and make their lives better. The

company uses advanced data analytics to enable an extensive network of live agents

to offer customized solutions for more people across a broader socio-economic

spectrum. On October 10, 2019, Assurance was purchased by Prudential, Inc for

$2.35 billion.

      13.        Simple Health Plans LLC, Health Benefits One LLC, Health Center

Management LLC, Innovative Customer Care LLC (a Florida limited liability


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company with its principal place of business in Hollywood, Florida), Simple

Insurance Leads LLC, and Senior Benefits One (collectively, “Simple Health”) are

all Florida limited liability companies with their principal place in Hollywood,

Florida. Simple Health advertised, marketed distributed, or sold limited benefit plans

and medical discount memberships to consumers throughout the United States on

HII’s behalf. Products sold by Simple Health included Principle Advantage, Legion

Limited Medical, Unified Health One, Health Choice, Advant Health STM and

Protector 360. These products were underwritten by companies such as Companion

Life Insurance, Axis Insurance Co., Unified Life Ins. Co., American Financial

Security Life Ins. Co. and Humana Insurance Company.

      14.    Donisi Jax, Inc. d/b/a Nationwide Health (“Nationwide”) is a Florida

corporation headquartered in Pompano Beach, Florida. Upon information and belief,

Nationwide marketed and sold the Cardinal Choice limited benefit indemnity

product for Defendants.

      15.    Assurance, Simple Health and Nationwide were not the only

distributors included in HII’s scheme, enterprise and conspiracy. However,

discovery will be necessary to identify the other entities

                           FACTUAL ALLEGATIONS

HII and HII’s Distribution Network:




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         16.   In its 2015 10-K, HII described itself as “a developer, distributor and

virtual administrator of…health insurance plans and supplemental products”,

“includ[ing] short-term medical…insurance plans and hospital indemnity plans.”

         17.   HII’s health insurance plans are not comprehensive health insurance

plans and do not comply with the ACA. The advantages of ACA-compliant policies

include coverage of preexisting conditions as well “essential health benefits,”

including emergency medical care, hospitalization, prescription medication,

preventative care, mental health benefits, maternity care, and pediatric care.

         18.   Unlike comprehensive health insurance plans, HII’s health insurance

plans do not cover pre-existing conditions, do not have networks of healthcare

providers that have agreed to their price schedules, do not provide mental health

benefits, maternity benefits, or other essential health benefits. However, they DO

contain restrictive limits on both individual benefits and the total amount of benefits

provided. These characteristics combine to leave insureds and their family members

owing catastrophic health benefits at a time when they are most vulnerable.

         19.   As noted in HII’s 2015 10-K, HII also “offer[s] a variety of additional

insurance and non-insurance products such as pharmacy benefit cards, dental plans,

vision plans, cancer/critical illness plans, deductible and gap protection plans and

life insurance policies that are frequently purchases as supplements to the” insurance

plans.


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         20.   The supplemental products that were packaged with HII’s health

insurance plans were medical discount plans or association memberships, providing

little if any medical benefits. However, HII packages these products along with their

limited benefit medical plans to make these plans appear more comprehensive and

to generate additional profits.

         21.   While HII sells products other than health insurance plans , in 2018,

approximately 45% of HII’s revenue resulted from the sale of hospital indemnity

plans and approximately 25% resulted from the sale of short term medical insurance

plans.

         22.   What HII failed to disclose in its regulatory filings is that HII also

developed a scheme to market its limited benefit and very limited value indemnity

plans and association memberships as comprehensive health insurance in order to

exact inflated prices and convince consumers that they were buying traditional

health insurance.

         23.   In order to implement this scheme, beginning in 2013, HII recruited and

conspired with distributors including Assurance, Simple Health, Nationwide, and

others to market these limited benefit non-ACA compliant insurance policies,

discount cards, association memberships and accidental health insurance as

comprehensive health insurance. Assurance, Simple Health and Nationwide




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solicited sales, took applications, issued coverage and collected the initial premiums

through an internet portal.

      24.    HII provides Assurance, Simple Health and Nationwide “training, audit

and other support, and monitoring.” HII 2018 10-K at 7.

      25.    HII also “make[s] advance commission payments…in order to assist

them with the cost of lead acquisition and provide working capital.” HII 2018 10-K

at 18, 47.

      26.    HII “collects premium equivalents upon the initial sale of the plan and

then monthly upon each subsequent periodic payment under such plan,” primarily

“through online credit care or ACH processing.” HII 2018 10-K at 63. HII then

remits payments to Simple Health, Nationwide, and Assurance. Id.

      27.    Following sale of a plan, HII also provides customer support that HII

refers to as “member management.” HII 2018 10-K at 75. Member management

includes “billing, collection, and member support… processing enrollment forms for

the member's insurance or discount benefit plan, verifying eligibility for coverage,

providing fulfillment documents to members, member support calls, and other

support activities.” Id.

      28.    The relationship between HII, Assurance, Simple Health and

Nationwide was not arms-length but instead constituted an enterprise formed for the

mutual benefit of all parties and at the expense of defrauded consumers. For


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example, HII participated in, directed, and fostered the enterprise and the mail and

wire fraud in at least the following ways:

             (a)   developing the products at the heart of the scheme;

             (b)   developing the network and recruiting Assurance, Simple

                   Health and Nationwide;

             (c)   entering into an exclusive agreement in 2013 with Assurance,

                   Simple Health for the promotion of HII products – primarily

                   limited benefit indemnity plans, medical discount plans and

                   AD&D insurance;

             (d)   entering into a similar agreement with Nationwide in 2015;

             (e)   paying Assurance, Simple Health and Nationwide very high

                   commissions;

             (f)   funding the operation of Assurance, Simple Health and

                   Nationwide with advanced commissions which basically

                   constituted multi-million dollar loans;

             (g)   jointly creating misleading “lead generation” websites;

             (h)   providing an online platform for Assurance, Simple Health and

                   Nationwide to quote and sale HII products;

             (i)   recruiting and training Assurance, Simple Health and

                   Nationwide sales agents;


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            (j)    allowing Assurance, Simple Health and Nationwide agents to

                   register their licenses through HII;

            (k)    monitoring sales calls;

            (l)    reviewing, editing, and approving fraudulent sales scripts;

            (m)    acting as third-party administrator, providing customer service

                   after the sale including processing enrollment forms,

                   verification of coverage, and providing documents to

                   consumers;

            (n)    collecting premiums;

            (o)    accounting for premiums and commissions and distributing

                   commissions to Assurance, Simple Health and Nationwide; and

            (p)    fielding consumer complaints.

      29.   In fact, when regulatory agencies began investigating Simple Health,

HII even paid Simple Health’s legal costs.

      30.   From 2014 through October 2018, HII paid almost $200 million in

commissions to Simple Health.

      31.   In October 2018, the FTC filed suit against Simple Health Plans, LLC.

The FCC investigation relied on thousands of pages of documents, extensive witness

interviews, and call recordings. The United States District Court for the Southern

District of Florida granted a temporary restraining order on October 31, 2018 and a


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permanent injunction on May 14, 2019, freezing Simple Health Plan’s assets,

appointing a receiver, and enjoining it from selling policies.        The pleadings

demonstrated a massive scheme by Simple Health, on behalf of HII, to lure

customers into believing they were purchasing comprehensive health insurance.

      32.    Prior to the FTC action against Simple Health in 2018, Simple Health

was HII’s largest distributor. Nationwide was also a significant distributor but since

the FTC’s action against Simple Health resulted in the dissolution of Simple Health,

Nationwide became an even more significant distributor of HII products.

The Fraudulent Scheme:

      33.    Defendants and their co-conspirators have engaged in a scheme to

target consumers seeking comprehensive health insurance.

      34.    Sales agents marketed HII products as comparable coverage at lower

prices, leading consumers to believe they were receiving comprehensive health

insurance. What consumers received, however, were limited benefit non-ACA

compliant indemnity insurance, discount memberships and accidental health

insurance.

      35.    The scheme involved numerous representations regarding the products

being offered and omitted material facts regarding the limitations of those products.

      36.    HII not only knew about the representations and omissions but was

complicit and instrumental in the fraudulent scheme.


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      37.    HII “regularly provide[s] health insurance plan information in the

scripts used by out independent third-party distributors.” HII 2018 10-K at 17. As

HII admits, “The information we provide on our platform, through our independent

third-party distributors, and otherwise may be construed as not accurate or

misleading.” Id. HII also concedes that HII has “received complaints that the

information we provided was not accurate or was misleading.” Id.

      38.    As the FTC explained, consumers were (1) “enticed by…misleading

search engine and lead generation websites,” (2) “subjected to a deceptive

telemarketing pitch,” and (3) “run through a sham verification process.” FTC v.

Simple Health Plans, LLC, Plaintiffs’ Reply Memorandum in Support of a

Preliminary Injunction at 4.

      39.    HII, Assurance, Simple Health, and Nationwide “utilize keyword

search, primarily paid keyword search listings on various online search engines and

other forms of internet advertising, to drive internet traffic to the lead aggregator’s

website.” HII 2018 10-K at 9.

      40.    Defendants’ deceptive search engine advertisements included

keywords such as “Obamacare,” “AARP,” and “BlueCross Blue Shield.”

      41.    The deceptive lead-generation websites, utilized by HII, Assurance,

Simple Health, and Nationwide contained numerous misrepresentations and

omissions. The websites typically claimed to provide information about obtaining


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comprehensive health insurance, including insurance available through the

marketplaces established pursuant to the ACA, including addresses such as

“Obamacare-healthquotes.com.”

         42.   The websites suggested the products were affiliated with established

carriers such as Blue Cross, Aetna, and Cigna and with associations such as the

American Association of Retired Person and included the Better Business Bureau

logo. Neither the products nor the companies had any such affiliations or

endorsements.

         43.   Consumers could contact an agent by calling a toll-free number

displayed on the website.

         44.   The websites also suggested that consumers who provided their contact

information would receive multiple quotes for comprehensive insurance coverage.

         45.   Consumers who submitted their contact information to one of the lead

generation websites subsequently received a call from a sales agent.

         46.   The call centers utilized uniform and deceptive scripts to assure

consumers they were only being offered comprehensive, ACA-compliant health care

plans.

         47.   As the FTC stated, the script “is deceptive on its face.” FTC v. Simple

Health Plans, LLC, Memorandum in Support of Plaintiff’s Motion for Ex Parte

Temporary Restraining Order at 12. Moreover, as the FTC concluded, “The intent


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of the scripts is unmistakable – to leave consumers with the impression that they

were purchasing comprehensive health insurance or its equivalent.” FTC v. Simple

Health Plans, LLC, Plaintiffs’ Reply Memorandum in Support of a Preliminary

Injunction at 7.

      48.    The FTC noted that sales agents were required to strictly adhere to the

script or risk termination.

      49.    The sales scripts began with a “Fear of God” section which was

intended to create a sense of urgency and fear regarding whether they would qualify

for the insurance being offered. The script referred to helping find “an affordable

health insurance quote.” The sales agents would claim to search from “MAJOR ‘A

rated’ CARRIERS” to find the “BEST PLAN out there for the BEST PRICE.” The

telemarketer would warn that it was possible the consumer would not qualify for any

plans. However, despite placing the consumer on hold while allegedly searching for

comprehensive health coverage, the telemarketer did not conduct any searches but

instead offered only a limited indemnity plan and other non-insurance products.

      50.    The script next directed the telemarketer to refer to the products being

offered using phrases such as “health insurance plan,” “medical insurance package,”

and “PPO.” But the plans were neither comprehensive nor PPO’s. The telemarketer

also misleadingly talked about the coverage being offered using phrases such as

“prescription drug plan,” “doctor office visits,” “diagnostic testing,” and “hospital


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coverage.” The scripts also stated that coverage would not be denied as a result of

pre-existing conditions but would pay immediately. Yet, the plans contained a one-

year pre-existing condition exclusion.

      51.    Pursuant to the script, consumers were also told they could use their

insurance to see almost any doctor in the country or to use any facility. This was not

true. The plans, of course, were not comprehensive medical insurance.

      52.    The scripts represented that consumers would pay very little, if

anything, for healthcare and prescriptions. However, the plans, at most, paid only

very limited benefits leaving the consumer to pay the overwhelming majority of the

costs of healthcare.

      53.    HII’s limited benefit and short-term plans are not comprehensive health

insurance, are not ACA-compliant and do not provide the benefits promised in the

telemarketer’s sales pitch.

      54.    Not only did the scripts contain knowingly false information, they

failed to disclose material facts including, inter alia, the following: (1) the products

were not comprehensive health insurance but were instead limited benefit plans and

medical discount memberships; (2) the products did not comply with the ACA and,

accordingly, consumers would be subject to the ACA penalty; (3) that, at most, the

limited benefits plans provided only extremely limited reimbursements leaving the




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consumer responsible for the remainder of the cost; and (4) that the prescription drug

plan was simply a savings card.

      55.     Assurance and Simple Health used Defendants’ web-based payment

platform to process payments from consumers.

      56.     After securing the sale, the telemarketer explained the consumer would

next participate in a verification process. Prior to the verification process, the

telemarketer would warn consumers not to ask questions and to disregard any

statements that contradicted the telemarketers’ statements. The telemarketer falsely

explained that the process used a single script but that many of the parts would not

apply to the consumer specifically, including statements that the consumer was not

buying comprehensive insurance: “Now, they also will tell you that this is not a

major medical plan or a discount plan. Obviously this isn’t a discount plan. This is

insurance.”

      57.     Pursuant to the script, the telemarketers also warned consumers to

ignore the statements about pre-existing conditions not being covered, assuring

consumers that they had immediate coverage.

      58.     The telemarketers suggested that if the consumer asked questions, the

process would have to be repeated from the beginning.




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       59.   Simple Health then utilized a sham “verification” process, utilizing

standardized scripts, and turning off the recording should the consumer ask any

questions so the misrepresentations could be repeated without creating any evidence.

       60.   Nationwide used a similar script and process and similarly represented

that consumers were receiving comprehensive medical insurance. Nationwide

similarly failed to disclose material facts. Nationwide also used Defendants’ web-

based payment platform to process payments from consumers.

       61.   Assurance, Simple Health and Nationwide, at HII’s direction,

represented themselves as being committed to acting in Plaintiffs’ and Class

Members’ interest and encouraged consumers to rely on their purported knowledge,

independence, and unbiased expertise in procuring insurance coverage. Assurance,

Simple Health and Nationwide acted as common law fiduciaries and, accordingly,

owed Plaintiffs and Class Members a duty of full and fair disclosure and complete

candor with regard to the products offered and a duty of loyalty to act in their best

interests.

       62.   The fraudulent scheme was undertaken with the specific intent of

inducing consumers to purchase Defendants’ near-worthless products, believing

they were purchasing comprehensive, ADA-compliant health insurance.

       63.   Plaintiffs and class members did, in fact, rely on Defendants’

misrepresentations and omissions in purchasing the products and in making


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payments. Absent Defendants’ standardized misrepresentations and omissions that

the products being offered were comprehensive, ADA-compliant health insurance,

no Plaintiff or Class Members would have agreed to buy Defendants’ valueless

products.

Plaintiffs Were Victims of the Scheme:

      64.    Jim Griffin purchased what he believed to be comprehensive medical

insurance coverage from Defendants.

      65.    On or about November 1, 2018, Mr. Griffin searched online for health

insurance.

      66.    His search results led him to a website similar to this one:




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      67.    After entering information onto the website, Mr. Griffin received a

phone call from Defendants’ agents who walked him through a script similar to that

described above. He told them that he needed comprehensive health coverage.

      68.    Defendants’ agent assured him they were selling him a plan that would

pay 80% of his medical expenses and would pay defined benefits on top of that.

They also informed him that it was major medical coverage that would cover

doctor’s bills, hospital costs, prescription drugs and similar costs.

      69.    In agreeing to purchase the insurance and in continuing to pay the

monthly premiums, Mr. Griffin relied on this representation that he was obtaining

comprehensive medical insurance.

      70.    Mr. Griffin’s monthly charges were $689.16, which Defendants

electronically debited from Mr. Griffin’s checking account.

      71.    On May 27, 2019, Mr. Griffin suffered a heart attack that required a

stent and four days of hospitalization. Only after this medical emergency did Mr.

Griffin learn the true benefits of the product he purchased and found that he owed

$150,000 in medical expenses not covered.

      72.    Rather than a comprehensive medical plan, Defendants had sold Mr.

Griffin an American Financial Security Life Insurance Company limited benefits

product which they called their Health Choice + Plan and memberships with the

“National Congress of Employers,” the “Med-Sense Guaranteed Association,” PEP


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(an “online health and wellness program”), ScripPal (a pharmacy discount card),

RxHelpline (purporting to be “a prescription savings program”), and Teladoc. They

also included a “voluntary accident insurance” policy from Federal Insurance

Company.

      73.    Defendants did not pay Mr. Griffin’s medical expenses as represented.

Even after Defendants’ refusal to pay Mr. Griffin’s medical expenses as represented,

they continued to debit his bank account for payments despite his repeated requests

to cancel the insurance and to cease debiting his account.

      74.    Plaintiff Ashely Lawley also believed she purchased comprehensive

medical insurance coverage from Defendants. In June of 2018 Ms. Lawley searched

online for health insurance and was contacted by an agent of HII. Based on the

representations of HII’s agent, Ms. Lawley believed she was purchasing

comprehensive health insurance.

      75.    In late October 2018, Ms. Lawley saw her chiropractor and was referred

to a surgeon to discuss removal of a suspicious lump on her neck. She immediately

called “Justin,” an HII agent, to confirm that the appointment and procedure would

be covered. Justin informed her that she would need to purchase a “Major Medical”

plan and that the lump would not be considered a pre-existing condition. He

explained that the plan was comprehensive and would cover eighty percent of her

charges for doctor visits, hospital stays, surgeries, and other medical services.


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      76.     Ms. Lawley agreed to purchase the insurance and paid the monthly

premiums in reliance on the representations that she was obtaining comprehensive

health insurance.

      77.     Defendants charged Ms. Lawley a monthly premium of $273.45,

drafted electronically from her checking account.

      78.     Following her initial visit with the surgeon, she again confirmed with

“Justin” that the procedure would be covered and that she would only need to pay a

$500 copay.

      79.     Ms. Lawley scheduled surgery to remove a mass on her neck on

November 13, 2018. Ms. Lawley paid a co-pay and after more discussions with

Justin was told by her doctor’s office that the surgery had been pre-approved.

      80.     Following the medical procedure, Ms. Lawley learned the true benefits

of the product.

      81.     For months, she received form after form repeatedly saying that no

benefits were being paid. Nearly a year later she was left with $20,000 in uncovered

medical expenses. Rather than a comprehensive medical plan, Defendants had sold

Ms. Lawley was a short term health insurance product entitled Advant Health STM

from American Financial packaged together with other products and discount clubs,

including memberships with the “National Congress of Employers,” “The Alliance

for Consumers USA, Inc.,” the “Med-Sense Guaranteed Association,” PEP (an


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“online health and wellness program”), ScripPal (a pharmacy discount card),

RxHelpline (purporting to be “a prescription savings program”), and Teladoc.

Defendants also sold her Group Critical Condition Insurance from Federal Insurance

Company.

      82.    Defendants did not pay Ms. Lawley’s medical expenses as represented.

      83.           Plaintiffs and Class Members were injured by Defendants’

fraudulent scheme and predicate acts. First, Plaintiffs and Class Members purchased

insurance and paid fees and premiums they would not have paid absent Defendants’

misrepresentations and omissions. Second, Plaintiffs and members of the Subclass

were injured because they incurred unreimbursed medical expenses that would have

been covered by comprehensive medical insurance.

                              RICO ALLEGATIONS

      84.    Plaintiffs, the class members and Defendants are "persons" within the

meaning of 18 U.S.C. § 1961(3).

      85.    Based upon Plaintiffs’ current knowledge, the following persons

constitute a group of individuals associated in fact that Plaintiffs refer to as the “HII

Marketing and Sales Enterprise”: (1) Defendants; (2) Assurance; (3) Simple Health;

(4) Nationwide; and (5) other third-party distributors.

      86.    Whether Defendants have replaced Simple Health within the enterprise

and whether the enterprise constitutes an ongoing organization, perpetuating the



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fraudulent scheme is unknown. Nationwide has clearly taken on a more significant

role within Defendants’ marketing and distribution network since the FTC

concluded its action against Simple Health. Also, Defendants continue to collect

premiums resulting from the fraudulent scheme. Regardless, the HII Marketing and

Sales Enterprise was a functioning organization for more than five years. The

enterprise engaged in, and its activities affected, interstate commerce with fraudulent

products being marketed and sold throughout the country as well as fees and

premiums being collected from consumers throughout the country.

      87.    While the Defendants participate in and are members and part of the

HII Marketing and Sales Enterprise, and are a part of it, they also have an existence

separate and distinct from the enterprise.

      88.    Defendants needed a distribution and marketing system in order to

market and sell their limited benefit indemnity plans at enormously inflated prices.

The HII Marketing and Sales Enterprise provided this means. Defendants’ control

of and participation in the enterprise is necessary for the successful operation of their

scheme. Defendants control and operate the enterprise in at least the following ways:

             (a)    developing the products at the heart of the scheme;

             (b)    developing the network and recruiting Assurance, Simple

                    Health and Nationwide;




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    (c)   entering into an exclusive agreement in 2013 with Simple

          Health for the promotion of HII products – primarily limited

          benefit indemnity plans, medical discount plans and AD&D

          insurance;

    (d)   entering into a similar agreement with Nationwide in 2015;

    (e)   paying Assurance, Simple Health and Nationwide very high

          commissions;

    (f)   funding the operation of Assurance, Simple Health and

          Nationwide with advanced commissions which basically

          constituted multi-million dollar loans;

    (g)   jointly creating misleading “lead generation” websites;

    (h)   providing an online platform for Assurance, Simple Health and

          Nationwide to quote and sale HII products;

    (i)   recruiting and training Assurance, Simple Health and

          Nationwide sales agents;

    (j)   allowing Assurance, Simple Health and Nationwide agents to

          register their licenses through HII;

    (k)   monitoring sales calls;

    (l)   reviewing, editing, and approving fraudulent sales scripts;




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            (m)    acting as third party administrator, providing customer service

                   after the sale including processing enrollment forms,

                   verification of coverage, and providing documents to

                   consumers;

            (n)    collecting premiums;

            (o)    accounting for premiums and commissions and distributing

                   commissions to Assurance, Simple Health and Nationwide;

            (p)    fielding consumer complaints; and

            (q)    paying Simple Health’s legal costs stemming from regulatory

                   investigations.

                                PREDICATE ACTS
      89.   Section 1961(1) of RICO provides that “racketeering activity” includes

any act indictable under 18 U.S.C. § 1341 (relating to mail fraud) and 18 U.S.C. §

1343 (relating to wire fraud). As set forth below, Defendants have engaged, and

continue to engage, in conduct violating each of these laws to effectuate their

scheme.

      90.   In addition, in order to make their scheme effective, each of the

Defendants sought to and did aid and abet the others’ in violating the above laws

within the meaning of 18 U.S.C. § 2. As a result, their conduct is indictable under

18 U.S.C. §§ 1341 and 1343, on this additional basis.



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                     Violations of 18 U.S.C. §§ 1341 and 1343
      91.    For the purpose of executing and/or attempting to execute the above

described scheme to defraud or obtain money by means of false pretenses,

representations or promises, Defendants, in violation of 18 U.S.C. § 1341, placed

and caused to be placed in post offices and/or in authorized repositories matter and

things to be sent or delivered by the Postal Service, caused matters and things to be

delivered by commercial interstate carrier, and received matter and things from the

Postal Service or commercial interstate carriers, including but not limited to

membership cards and other confirmatory materials sent by Defendants to Plaintiffs

and class members.

      92.    For the purpose of executing and/or attempting to execute the above

described scheme to defraud or obtain money by means of false pretenses,

representations or promises, Defendants, also in violation of 18 U.S.C. § 1343,

transmitted and received by wire or caused to be transmitted and received by wire,

matter and things which include but are not limited to misrepresentations and

omissions on websites and during sales pitches over the phone. Wire transmissions

were also used for the collection of information from the consumer and for the

collection of fees and premiums.

      93.    The misrepresentations, acts of concealment and failures to disclose of

Defendants, Assurance, Simple Health and Nationwide were knowing and



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intentional, and made for the purpose of deceiving Plaintiffs and the class and

obtaining their property for Defendants’ gain.

      94.    Defendants were not only aware of the fraudulent scheme but were

instrumental to the functioning of the scheme. Defendants recruited Simple Health

and Nationwide and developed the network through which the products were

fraudulently marketed; funding the operation of Assurance, Simple Health and

Nationwide, jointly creating misleading “lead generation” websites, creating the

platform through which Assurance, Simple Health and Nationwide quoted and sold

HII products, recruiting and training Assurance, Simple Health and Nationwide sales

agents, monitoring sales calls, reviewing, editing, and approving fraudulent sales

scrips, acting as the third party administrator for products sold by Assurance, Simple

Health and Nationwide, fielding multitudes of consumer complaints and even

covering Simple Health’s legal expenses for regulatory actions.

      95.    Defendants either knew or recklessly disregarded the fact that the

misrepresentations and omissions described above were material, and Plaintiffs and

the class relied on the misrepresentations and omissions as set forth above.

      96.    As a result, Defendants have obtained money and property belonging

to the Plaintiffs and class members, and Plaintiffs and the class have been injured in

their business or property by Defendants’ overt acts of mail and wire fraud, and by

their aiding and abetting each other’s acts of mail and wire fraud.


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                 PATTERN OF RACKETEERING ACTIVITY
      97.    Defendants have engaged in a “pattern of racketeering activity,” as

defined by 18 U.S.C. § 1961(5), by committing or aiding and abetting in the

commission of at least two acts of racketeering activity, i.e., indictable violations of

18 U.S.C. §§ 1341 and 1343 as described above, within the past ten years. In fact,

each of the Defendants has committed, caused to be committed or aided and abetted

in the commission of thousands of acts of racketeering activity. Each act of

racketeering activity was related, had a similar purpose, involved the same or similar

participants and method of commission, had similar results and impacted similar

victims, including Plaintiffs and class members.

      98.    The multiple acts of racketeering activity which Defendants committed

and/or conspired to or aided and abetted in the commission of, were related to each

other and amount to and pose a threat of continued racketeering activity, and

therefore constitute a “pattern of racketeering activity” as defined in 18 U.S.C. §

1961(5).

                               RICO VIOLATIONS

                                      § 1962(C)

      99.    Section 1962(c) of RICO provides that it “shall be unlawful for any

person employed by or associated with any enterprise engaged in, or the activities

of which affect, interstate or foreign commerce, to conduct or participate, directly or



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indirectly, in the conduct of such enterprise’s affairs through a pattern of

racketeering activity …”

      100. Through the patterns of racketeering activities outlined above, the

Defendants have also conducted and participated in the affairs of the HII Marketing

and Sales Enterprise.

                                       § 1962(D)
      101. Section 1962(d) of RICO makes it unlawful “for any person to conspire

to violate any of the provisions of subsection (a), (b) or (c), of this section.”

      102. Defendants’ conspiracy to falsely obtain money from Plaintiffs and

class members for their own use through the fraudulent scheme described above

violates 18 U.S.C. §1962(d).

      103. Each of the Defendants agreed to participate, directly or indirectly, in

the conduct of the affairs of the HII Marketing and Sales Enterprise through a pattern

of racketeering activity comprised of numerous acts of mail fraud and wire fraud,

and each Defendant so participated in violation of 18 U.S.C. § 1962(c).

                        CLASS ACTION ALLEGATIONS

      104. Plaintiffs bring this action on their own behalf and, pursuant to Rule

23(b)(3) as a class action on behalf of a nationwide class of persons defined as:

      All persons who, from May 5, 2016, to the date of certification
      purchased a health insurance plan from Defendants through Assurance,
      Simple Health or Nationwide.



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(the “Class”).

      105. Plaintiffs also bring this action on behalf of a nationwide subclass of

persons defined as:

      All persons who, from May 5, 2016, to the date of certification
      purchased a health insurance plant from Defendants through
      Assurance, Simple Health or Nationwide and incurred a medical
      expense that was not covered because the product was not a
      comprehensive health insurance plan.

(the “Medical Expense Subclass”)

                                     RULE 23(A)
                                    TYPICALITY

      106. Plaintiffs and the members of the Class and the Subclass all have

tangible and legally protectable interests at stake in this action.

      107. The claims of the named class representatives and the absent class

members have a common origin and share a common basis. Their claims originate

from the same illegal, fraudulent, conspiratorial, and aiding and abetting practices

of Defendants, and Defendants act in the same way toward Plaintiffs and the

members of the class. As such, each Plaintiff has been the victim of Defendants’

illegal practices because each has purchased one of Defendants’ limited benefit

indemnity policies.

      108. Plaintiffs state claims for which relief can be granted that are typical of

the claims of absent Class members and Subclass members.              If brought and



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prosecuted individually, the claims of each class member would necessarily require

proof of the same material and substantive facts, rely upon same remedial theories,

and seek the same relief.

      109. The claims and remedial theories pursued by the named class

representatives are sufficiently aligned with the interests of absent class members to

ensure that the universal claims of the Class and the Subclass will be prosecuted with

diligence and care by Plaintiffs as representatives of the class.

                                  NUMEROSITY
      110. The members of the Class are so numerous that joinder of all members

is impracticable. According to the FTC, just Simple Health’s involvement in the

scheme “left tens of thousands of consumers who thought they had purchased

comprehensive health insurance without such coverage.” FTC v. Simple Health

Plans, LLC, Complaint at ¶ 20. The Class is, however, ascertainable as the names

and addresses of all class members can be identified in business records maintained

by the Defendants.

                                 COMMONALITY
      111. The questions of law and fact common to the class include, inter alia:

             (a)     whether Defendants participated in conspired with regard to or

                     aided and abetted a fraudulent scheme;

             (b)     whether Defendants engaged in mail and wire fraud;



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             (c)    whether Defendants engaged in a pattern of racketeering

                    activity;

             (d)    whether the HII Marketing and Sales Enterprise constitutes an

                    enterprise within the meaning of 18 U.S.C. § 1961 (4).

             (e)    whether Defendants conducted or participated in the affairs of

                    an enterprise through a pattern of racketeering activity in

                    violation of 18 U.S.C. § 1962(c).

             (f)    whether Defendants acts in violation of 18 U.S.C. § 1962

                    proximately caused injury to Plaintiffs and Class Members’

                    business or property.

                       ADEQUATE REPRESENTATION
      112. Plaintiffs are willing and prepared to serve the Court and proposed class

in a representative capacity with all of the obligations and duties material thereto.

Plaintiffs will fairly and adequately protect the interests of the class and have no

interests adverse to, or which directly and irrevocably conflict with, the interests of

other members of the class.

      113. The self-interests of the named class representatives are co-extensive

with and not antagonistic to those of the absent class members. The proposed

representatives will undertake to well and truly protect the interests of the absent

class members.



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      114. Plaintiffs have engaged the services of counsel indicated below. Said

counsel are experienced in complex class litigation, will adequately prosecute this

action, and will assert, protect and otherwise well represent the named class

representatives and absent class members.

                                   RULE 23(B)(2)

      115. The Defendants have acted or refused to act on grounds generally

applicable to the class, making final declaratory or injunctive relief appropriate.

                                 RULE 23(B)(3)(2)
      116. The questions of law and fact common to members of the class

predominate over any questions affecting only individual members.

      117. A class action is superior to other available methods for the fair and

efficient adjudication of the controversies herein in that individual claims by the

class members are impractical as the costs of pursuit far exceed what any one

Plaintiff or class member has at stake.

                                     COUNT I
                  VIOLATION OF RICO 18 U.S.C. § 1962 (c)

      118. This claim for relief arises under 18 U.S.C. § 1964(c).

      119. Defendants have conducted or participated in the conducting the HII

Marketing and Sales Enterprise through a pattern of racketeering activity.




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      120. As a direct and proximate result, Plaintiffs and Class Members have

been injured in their business or property by the predicate acts constituting the

pattern of racketeering activity.

      121. Specifically, Plaintiffs and Class Members have been injured in their

business or property by paying fees and premiums they would not have paid absent

Defendants’ illegal conduct. Plaintiffs and Subclass Members have also been injured

in their business or property because they incurred unreimbursed medical expenses

that would have been covered by comprehensive medical insurance.

      122. Accordingly, Defendants are liable to Plaintiffs and Class Members for

three times their actual damages as proven at trial, plus interest and attorneys’ fees

                                     COUNT II

                VIOLATION OF RICO 18 U.S.C. § 1962(D) BY
               CONSPIRING TO VIOLATE 18 U.S.C. § 1962 (C)
      123. This claim for relief arises under 18 U.S.C. § 1964(c).

      124. In violation of 18 U.S.C. § 1962(d), Defendants have, as set forth

above, conspired to violate 18 U.S.C. § 1962(c) by conducting, or participating

directly or indirectly in the conduct of, the affairs of the HII Marketing and Sales

Enterprise through a pattern of racketeering.

      125. As a direct and proximate result, Plaintiffs and class members have

been injured in their business or property by the predicate acts which make up the

Defendants’ patterns of racketeering.


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      126. Specifically, Plaintiffs and Class Members have been injured in their

business or property by paying fees and premiums they would not have paid absent

Defendants’ illegal conduct. Plaintiffs and Subclass Members have also been injured

in their business or property because they incurred unreimbursed medical expenses

that would have been covered by comprehensive medical insurance.

      127. Accordingly, Defendants are liable to Plaintiffs and Class Members for

three times their actual damages as proven at trial, plus interest and attorneys’ fees.

                                     COUNT III

               VIOLATION OF 18 U.S.C. § 2 BY
SEEKING TO AND AIDING AND ABETTING IN THE VIOLATION OF 18
                      U.S.C. § 1962 (C)
      128. This claim for relief arises under 18 U.S.C. § 1964(c).

      129. As set forth above, Defendants knowingly, and with shared intent,

sought to, and have, aided and abetted Assurance, Simple Health and Nationwide in

the commission of predicate acts, in engaging in a pattern of racketeering activity,

and in violation 18 U.S.C. § 1962(c).

      130. Under 18 U.S.C. § 2, the RICO violations of Assurance, Simple Health

and Nationwide are the violations of the Defendants as if they had been committed

directly by them.

      131. As a direct and proximate result of Defendants aiding and abetting

Assurance, Simple Health and Nationwide, Plaintiffs and class members have been



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injured in their business or property by the predicate acts which make up the

Defendants’ patterns of racketeering.

      132. Specifically, Plaintiffs and Class Members have been injured in their

business or property by paying fees and premiums they would not have paid absent

Defendants’ illegal conduct. Plaintiffs and Subclass Members have also been injured

in their business or property because they incurred unreimbursed medical expenses

that would have been covered by comprehensive medical insurance.

      133. Accordingly, Defendants are liable to Plaintiffs and Class Members for

three times their actual damages as proven at trial, plus interest and attorneys’ fees.

                                     COUNT IV
                     DECLARATORY AND INJUNCTIVE
                     RELIEF UNDER 18 U.S.C. § 1964(A)
      134. This claim arises under 18 U.S.C. § 1964(a), which authorizes the

district courts to enjoin violations of 18 U.S.C. § 1962, and under 28 U.S.C. § 2201

which authorizes associated declaratory relief.

      135. As set forth in Counts I and II above, Defendants have violated 18

U.S.C. §§ 1962(c) and (d), and will continue to do so in the future.

      136. Enjoining Defendants from committing these RICO violations in the

future and/or declaring their invalidity is appropriate as Plaintiffs and Class

Members have no adequate remedy at law, and will, as set forth above, suffer

irreparable harm in the absence of the Court’s declaratory and injunctive relief.


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                              PRAYER FOR RELIEF
      WHEREFORE, Plaintiffs pray for the following relief:

      (a)     Certification of the Class and Subclass pursuant to Rule 23 of the

Federal Rules of Civil Procedure, certifying Plaintiffs as the representatives of the

Classes, and designating their counsel as counsel for the Classes;

      (b)     A declaration that Defendants have committed the violations alleged

herein;

      (c)     Treble the amount of damages suffered by Plaintiffs and members of

the Class and Subclass as proven at trial plus interest and attorneys’ fees and

expenses;

      (d)     An injunction preventing Defendants from engaging in future

fraudulent practices;

      (e)     Costs of this action, including reasonable attorneys’ fees and

expenses; and

      (f)     Any such other and further relief as this Court deems just and proper,

                                  JURY DEMAND

      Plaintiffs demand a trial by jury on all issues so triable.




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Dated: May 5, 2020

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